Case 2:08-cr-00178-LRS   ECF No. 200   filed 05/21/09   PageID.541 Page 1 of 8
Case 2:08-cr-00178-LRS   ECF No. 200   filed 05/21/09   PageID.542 Page 2 of 8
Case 2:08-cr-00178-LRS   ECF No. 200   filed 05/21/09   PageID.543 Page 3 of 8
Case 2:08-cr-00178-LRS   ECF No. 200   filed 05/21/09   PageID.544 Page 4 of 8
Case 2:08-cr-00178-LRS   ECF No. 200   filed 05/21/09   PageID.545 Page 5 of 8
Case 2:08-cr-00178-LRS   ECF No. 200   filed 05/21/09   PageID.546 Page 6 of 8
Case 2:08-cr-00178-LRS   ECF No. 200   filed 05/21/09   PageID.547 Page 7 of 8
Case 2:08-cr-00178-LRS   ECF No. 200   filed 05/21/09   PageID.548 Page 8 of 8
